 

Case 3:19-cr-00111-MEM Document 10 Filed 04/17/19 Page 1of1

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

Vv : 3:CR-19-111
NICHOLAS STANLEY : (Judge Mannion)
Defendant

SCHEDULING ORDER

The parties shall have until Wednesday, May 8, 2019 to file any pretrial
motions and Motions in Limine in this case.

Jury Selection and Trial are scheduled for Monday, June 17, 2019 at
9:30 a.m. in the William J. Nealon Federal Building and United States
Courthouse, 235 North Washington Avenue, Scranton, Pennsylvania in a

Courtroom to be designated at a later time.

  

 

 

chy E. Mannion
United States District Judge

Dated: April 17, 2019

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